  Case 16-00692       Doc 65   Filed 12/14/17 Entered 12/15/17 10:08:44               Desc Main
                                 Document      Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )               BK No.:      16-00692
KI CHANG KIM AND MIRA KIM                     )
                                              )               Chapter: 7
                                              )
                                                              Honorable Carol Doyle
                                              )
                                              )
               Debtor(s)                      )

            ORDER AMENDING ORDER DATED DECEMBER 6, 2017 (Docket #61)

       THIS MATTER coming to be heard on the motion of Debtors, the Court having jurisdiction
over the parties and the subject matter and being duly advised in the premises and due notice having
been given to the parties entitled thereto:

        It is ORDERED:

   1. The Order Granting In Part Debtors Kims' Motion to Avoid Lien (Docket #61) is amended as
follows: The second sentence in the conclusion that states: "The court partially avoids the judicial lien
of Nongshim America to the extent of $10,152.08" is amended to state: "The court partially avoids the
judicial lien of Nongshim America to the extent that it exceeds $26,162.28." In other words, the lien is
avoided for all amounts sought in connection with the judgment in excess of $26,162, including
postjudgment interest and any other amount that Nongshim America could collect under the judgment
based on Illinois law.

   2. The docket entry for the Order Granting in Part Kim's Motion to Avoid Lien is amended to state as
follows: "Debtors Ki Change Kim and Mira Kim's Motion to Avoid Lien (docket #25) of Nongshim
America is granted in part and denied in part. The lien is avoided to the extent it exceeds $26,162."

                                                           Enter:



                                                                    Honorable Carol A. Doyle
Dated: December 14, 2017                                            United States Bankruptcy Judge

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